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15                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
16
      IN RE INDUCTORS ANTITRUST                       Case No. 5:18-cv-00198-EJD-NC
17    LITIGATION
18                                                    JOINT CASE MANAGEMENT
                                                      CONFERENCE STATEMENT
19
                                                      Date: February 7, 2019
20                                                    Time: 10:00 A.M.
21                                                    Hon. Edward J. Davila
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     {00202185.1}             JOINT CASE MANAGEMENT CONFERENCE STATEMENT
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 1           In connection with the Case Management Conference scheduled in this matter for February 7,

 2   2019, the Direct Purchaser Plaintiffs (“Plaintiffs”) and Defendants submit this Joint Case Management

 3   Conference Statement.

 4      I.      DISCOVERY

 5              A. DPP Class Plaintiffs’ Position on Progress of Production of

 6                  Transactional Data.

 7           At the case management conference that was held on December 17, 2018, this

 8   Court scheduled a case management conference for February 7, 2019 for the parties to

 9   report on their progress in production of transactional data concerning Inductors.

10           On December 21, 2018, Plaintiffs served Defendants with their First Set of

11   Interrogatories. Interrogatory No. 1 asked Defendants to “Identify, for each year in the

12   Relevant Period, all of Your revenues from all (1) sales of Inductors to customers with

13   billing addresses located in the United States; (2) sales of Inductors shipped to the United

14   States; and (3) sales to United States companies regardless of whether billed to or shipped

15   to the United States.” Not a single Defendant provided substantive answers to

16   Interrogatory No. 1, but instead referred Plaintiffs to forthcoming transactional sales data

17   productions.

18                  1.      Transactional Data Produced by Defendants to Date

19           Defendants have produced no data. This despite the fact that Defendants have

20   refused to provide answers to Plaintiffs’ Interrogatory No. 1, in reference to hypothetical

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 1   document productions. The productions of transactional data that Plaintiffs have received

 2   to date are summarized as follows:

 3

 4             Defendant                    Volume of Transactional                     Foreign
 5                                                    Data                        Transactional
 6                                                                                      Data?
 7       Sagami Defendants                              0                                 No
 8       TDK Defendants                                 0                                 No
 9       Panasonic Defendants                           01                                No
10       Taiyo Yuden Defendants                         0                                 No
11       Murata Defendants                              0                                 No
12       Sumida Defendants                              0                                 No
13       Tokin Defendants                               0                                 No
14            Defendants’ refusal to produce meaningful transactional data is impeding the
15   progress of this litigation. Defendants have resisted discovery on all merits related issues,
16   citing the lack of “proportionality,” but have blocked discovery into foundational questions
17   concerning the size of the market that will inform the proportionality analysis.
18                   2.      The Parties’ Dispute Concerning Foreign Transactional Data
19            Plaintiffs and Defendants disagree on the issue of whether foreign transactional
20   data should be produced.2 The parties have met and conferred on this issue, and have
21   exchanged their respective positions
22            Defendants have taken the position that no foreign transactional data should be
23   produced until the Court rules on Defendants’ Motion to Dismiss, but have agreed to
24

25   1
       On January 24, 2019, the Panasonic Defendants produced a “sample” of transactional data from
26   2016, which Plaintiffs are reviewing.
     2
       Plaintiffs and Defendants disagree on a start date for Defendants’ production of transactional
27   data, but Plaintiffs will defer resolution of this dispute until Defendants have produced meaningful
     quantities of transactional data.
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 1   produce “transactional data with ‘bill to’ or ‘ship to’ addresses in the United States.”

 2   Plaintiffs believe that production of foreign transactional data is proportional to the needs

 3   of the case at this time due to the obvious relevance of foreign transactional data to issues

 4   relating to Defendants’ motive and opportunity for the alleged conspiracy, the scope and

 5   breadth of the conspiracy, and may be used by Plaintiffs’ experts to create global demand

 6   models for Inductors.

 7          Plaintiffs have determined to await Defendants’ production of the transactional data

 8   that is indisputably proportional to the needs of the case at this time—including data that is

 9   “billed to” or “shipped to” U.S. addresses—before bringing this issue to resolution.
             B.      Defendants’ Position
10
                    1.       Overview of Transaction Data Work: On Schedule and On Target
11
            Defendants have made substantial progress on their work necessary to identify, collect, and
12
     then produce transactional data. Each Defendant remains confident that transactional data will be
13
     substantially produced in advance of the April 1, 2019 deadline that Plaintiffs proposed and the
14
     Court adopted. See ECF No. 228.
15
            Yet, Plaintiffs claim that ”Defendants’ refusal to produce meaningful transactional data is
16
     impeding the progress of this litigation.” Defendants have not refused to produce transactional
17
     data. As described in more detail below, Defendants have agreed to produce data on or before the
18
     April 1 deadline, and Defendants are working diligently to that end. Plaintiffs do not identify any
19
     way that defendants’ compliance with the Court-ordered schedule is “impeding the progress of
20
     this litigation.” Defendants assume that Plaintiffs are also working diligently to comply with the
21
     Court-ordered schedule for its own productions. Of course, Plaintiffs also have not yet produced
22
     their transactional data (or any discovery), but Defendants are not anxious about Plaintiffs’
23
     meeting the April 1 deadline. Defendants trust that they will comply with the Court’s deadlines.
24
                    2.       Plaintiffs’ Acceptance of Defendants’ Position on Foreign Data
25
            Defendants are pleased that Plaintiffs now agree that Defendants should produce only
26
     transactional sales data with “bill to” and “ship to” addresses in the United States at this time.
27

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 1   This production is proportional to the needs of the case, and allows the parties to determine the

 2   need for any further data (if any) after this Court resolves Defendants’ motion to dismiss.

 3                  3.      Individual Defendants’ Progress on Transactional Data

 4          Each Defendant group has made substantial progress on identifying and understanding

 5   responsive data, which is the predicate for downloading final data for production:

 6         Murata Defendants: Counsel has engaged in extensive telephonic, email, and in-person

 7          communications with Murata Manufacturing Co., Ltd. (“MMC”) and Murata Electronics

 8          North America, Inc. (“MENA”) to determine what responsive data are and are not

 9          available, and has provided updates to Plaintiffs’ counsel regarding the status of Murata’s

10          transactional data, including on November 27, 2018 and December 14, 2018. Murata

11          expects to provide Plaintiffs a further substantial update by February 1, and expects that

12          productions will then follow in advance of the April 1 deadline.

13         Panasonic Defendants: Panasonic has worked diligently to determine the availability of

14          responsive transactional data, and provided regular, detailed updates on its investigation to

15          Plaintiffs’ counsel. Panasonic provided Plaintiffs with additional information regarding its

16          transactional data in letters dated November 26 and December 13. On December 21, 2018,

17          four days after the last status conference, Panasonic provided Plaintiffs’ counsel with a

18          detailed list of available data fields and offered to meet and confer. Panasonic never

19          received a response. Notwithstanding, in order to advance discussions, on January 24,

20          2019, Panasonic produced to Plaintiffs’ counsel a data sample representing sales of

21          inductors “billed to” or “shipped to” customers in the United States for all of 2016.

22          Panasonic does not anticipate any difficulty with producing responsive transactional sales

23          data in advance of the April 1 deadline.

24         Sagami Defendants: Sagami has also worked diligently to determine the availability of

25          responsive transactional data, and provided detailed updates on that topic to Plaintiffs’

26          counsel in letters dated November 27, 2018 and January 24, 2019. Sagami expects to

27          provide Plaintiffs with a list of data fields potentially responsive to their requests for

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 1          transactional data in early February, and anticipates producing responsive transactional

 2          sales data in advance of the April 1 deadline.

 3         Sumida Defendants: Sumida has identified its transactional sales data for sales to

 4          customers with “bill to” and “ship to” addresses in the United States. This data is available

 5          beginning in May 2003. Sumida expects to provide Plaintiffs with a list of fields

 6          potentially responsive to plaintiffs’ request for transactional sales data for review by

 7          February 1. Sumida will then collect and produce the transactional sales data in advance of

 8          the April 1 deadline.

 9         TDK Defendants: TDK has investigated the availability of transactional data concerning

10          sales of inductors and has updated Plaintiffs with information concerning the data

11          available. TDK anticipates making a further, significant, update by February 1 and to be in

12          a position to produce data concerning its inductors sales to customers with “bill to” or

13          “ship to” addresses in the United States well in advance of the April 1, 2019 deadline.

14         Taiyo Yuden Defendants: Counsel has engaged in extensive telephonic and email

15          communications with Taiyo Yuden’s Japanese and U.S. entities to answer extensive

16          technical and substantive questions to determine what responsive data are and are not

17          available. In particular, Taiyo Yuden now anticipates being able to produce data back to

18          April 2002 instead of October 2011, which is the date previously believed and conveyed to

19          Plaintiffs. Taiyo Yuden expects, upon confirmation of several open questions, to provide

20          Plaintiffs a substantial update by February 1—two months in advance of the production

21          timeline. Taiyo Yuden expects that productions will then follow in advance of the April 1

22          deadline.

23         Tokin Defendants: Tokin has also worked diligently and engaged in extensive telephonic,

24          email, and in-person communications to determine the availability of responsive

25          transactional data. Tokin now anticipates being able to produce data for sales to customers

26          with “bill to” and “ship to” addresses in the United States back to April 2004 instead of

27          August 2007, which is the date previously believed and conveyed to Plaintiffs. Tokin

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 1          expects to provide Plaintiffs with a substantial update regarding potentially responsive data

 2          fields in early February, and does not anticipate any difficulty producing responsive

 3          transactional sales data in advance of the April 1 deadline.

 4                  4.      Plaintiffs’ Progress on Discovery and Other Discovery Issues

 5          Defendants note that shortly before serving their section of this joint statement, Plaintiffs

 6   sought a two-week extension to serve responses to Defendants’ first set of document requests,

 7   which track the non-merits requests Plaintiffs served on Defendants and include transactional data.

 8   Defendants granted that request.

 9          Plaintiffs also note Defendants’ responses and objections to Plaintiffs’ recent “merits”

10   document requests and interrogatories. The “merits” document requests were broader than the

11   topics that Plaintiffs summarized at the last status conference, which the Court described as

12   sounding “extensive.” See Hr’g Tr., Dec. 17, 2018, at 10:9-10. The parties have not engaged in

13   any meet and confer. Raising any substantive issues with the Court at this time would therefore be

14   premature. That said, Defendants’ note that their objections and responses were detailed and

15   provide good reasons to Plaintiffs for their positions—similar to the reasons that Plaintiffs

16   ultimately accepted for not pursuing global transactional data at this time.

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20    Dated: January 28, 2019

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